         Case 5:22-cv-03600-BLF Document 17 Filed 07/18/22 Page 1 of 7




 1    Colby B. Springer (SBN 214868)
      cspringer@polsinelli.com
 2    POLSINELLI LLP
      Three Embarcadero Center, Suite 2400
 3
      San Francisco, CA 94111
 4    T: 415-248-2118
      F: 415-248-2101
 5
      BRYAN M. WESTHOFF (pro hac vice application pending)
 6    bwesthoff@polsinelli.com
      POLSINELLI PC
 7
      150 N. Riverside Plaza, Suite 3000
 8    Chicago, IL 60606
      T: 312-873-2973
 9    F: 312-819-1910
10    Attorneys for Defendants
      REPUBLIC CAPITAL and
11    REPUBLIC MAXIMAL LLC
12

13                                UNITED STATES DISTRICT COURT
                                 NORTHER DISTRICT OF CALIFORNIA
14                                      SAN JOSE DIVISION

15     NICK PATTERSON, Individually and on      Case No. 5:22-cv-03600-BLF
       Behalf of All Others Similar Situated,   JOINT STIPULATION AND [PROPOSED]
16                                              ORDER REGARDING TIME TO RESPOND
                    Plaintiff,                  TO INITIAL COMPLAINT
17
              vs.
18
       TERRAFORM LABS, PTE. LTD., JUMP
19     CRYPTO, JUMP TRADING LLC,
       REPUBLIC CAPITAL, REPUBLIC
20     MAXIMAL LLC, TRIBE CAPITAL,
       DEFINANCE CAPITAL/DEFINANCE
21     TECHNOLOGIES OY, GSR/GSR
       MARKETS LIMITED, THREE ARROWS
22     CAPITAL PTE. LTD., NICHOLAS
       PLATIAS and DO KWON,
23
                    Defendants.
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                                                      JOINT STIPULATION AND [PROPOSED] ORDER REGARDING
                                                      TIME TO RESPOND TO INITIAL COMPLAINT
                                                -1-                                Case No. 5:22-cv-03600-BLF
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 1            Defendants Republic Capital and Republic Maximal LLC (together, “Republic”) and

 2 plaintiff Nick Patterson hereby stipulate:

 3            WHEREAS, this Action is governed by the Private Securities Litigation Reform Act (15

 4 U.S.C. § 77z-1 et seq.), which provides that following notice to the proposed class, the court must

 5 rule on the consolidation of any substantially similar actions and appoint a lead plaintiff (“Lead

 6 Plaintiff”) for prosecution of any consolidated action;

 7            WHEREAS, pursuant to 15 U.S.C. § 77z-1(a)(3)(A)(i)(II), motions for appointment as Lead

 8 Plaintiff in this action are due on August 19, 2022 (“Lead Plaintiff Motions”);

 9            WHEREAS, Republic’s response to the current complaint is due July 15, 2022, before the
10 Lead Plaintiff Motions will be heard;

11            WHEREAS, an Initial Case Management Conference is set for September 29, 2022, at

12 11:00 a.m. (the “Initial CMC”);

13            WHEREAS, it is anticipated that the Court-appointed Lead Plaintiff(s) will file an amended

14 consolidated complaint, superseding the existing complaint;

15            WHEREAS, the parties to this stipulation have conferred and agreed that requiring Republic

16 to respond to the current complaint under the existing schedule would necessitate duplicative effort,

17 unnecessary motion practice, and result in a waste of judicial resources;

18            NOW THEREFORE, counsel for Plaintiff and Republic stipulate and agree that:

19            1.     Republic has no obligation to respond to the existing complaint in this action and the
20 deadline by which Republic must answer, move, or otherwise respond to an operative complaint is

21 extended until such time as the parties stipulate or the Court orders;

22            2.     Following this Court’s order on the anticipated Lead Plaintiff Motions, Republic will

23 meet and confer with the Court-appointed Lead Plaintiff(s)and any other defendants regarding the

24 timing for Lead Plaintiff(s) to file an amended complaint and the timing of Republic and the other

25 defendants’ response thereto;

26            3.     Nothing about or related to this stipulation may be used as evidence in support of or

27 against any argument or defense that any party may later make or raise, including arguments in

28 connection with the parties’ claims or defenses.
                                                             JOINT STIPULATION AND [PROPOSED] ORDER REGARDING
                                                             TIME TO RESPOND TO INITIAL COMPLAINT
                                                      -2-                                 Case No. 5:22-cv-03600-BLF
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 1            IT IS SO STIPULATED.

 2 Dated: July 14, 2022                POLSINELLI LLP

 3                                     By: /s/ Colby B. Springer
                                          Colby B. Springer
 4                                        POLSINELLI LLP
                                          Three Embarcadero Center, Suite 2400
 5                                        San Francisco, CA 94111
                                          Tel:       415-248-2100
 6                                        Fax:       415-248-2101
                                          Email:     cspringer@polsinelli.com
 7
                                          Bryan M. Westhoff (pro hac vice forthcoming)
 8                                        POLSINELLI PC
                                          150 N. Riverside Place, Suite 3000
 9                                        Chicago, IL 60606
                                          Tel:       312-819-1900
10                                        Fax:       312-819-1901
                                          Email:     bwesthoff@polsinelli.com
11
                                          Attorneys for Defendants
12                                        REPUBLIC CAPITAL and
                                          REPUBLIC MAXIMAL LLC
13
     Dated: July 14, 2022              SCOTT+SCOTT ATTORNEYS AT LAW LLP
14
                                       By: /s/ John T. Jasnoch
15                                        John T. Jasnoch
                                          Scott+Scott Attorneys at Law LLP
16                                        600 West Broadway, Suite 3300
                                          San Diego, CA 92101
17                                        Tel.: (619) 233-4565
                                          Fax: (619) 233-0508
18                                        Email: jjasnoch@scott-scott.com
19                                        Sean T. Masson (admitted pro hac vice)
                                          Scott+Scott Attorneys at Law LLP
20                                        The Helmsley Building
                                          230 Park Avenue, 17th Floor
21                                        New York, NY 10169
                                          Tel.: 212-223-6444
22                                        Email: smasson@scott-scott.com
23                                        Attorneys for Plaintiff NICK PATTERSON
24

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                                                  JOINT STIPULATION AND [PROPOSED] ORDER REGARDING
                                                  TIME TO RESPOND TO INITIAL COMPLAINT
                                            -3-                                Case No. 5:22-cv-03600-BLF
     84334789.1
         Case 5:22-cv-03600-BLF Document 17 Filed 07/18/22 Page 4 of 7




 1 Dated: July 14, 2022                KOBRE & KIM LLP

 2                                     By: /s/ Daniel A. Zaheer
                                          Daniel A. Zaheer
 3                                        Kobre & Kim LLP
                                          150 California Street, 19th Floor
 4                                        San Francisco, CA 94111
                                          Tel.: 415-582-4800
 5                                        Fax: 415-582-4811
                                          Email: daniel.zaheer@kobrekim.com
 6
                                          Attorneys for Defendant JUMP TRADING LLC
 7

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                                                  JOINT STIPULATION AND [PROPOSED] ORDER REGARDING
                                                  TIME TO RESPOND TO INITIAL COMPLAINT
                                            -4-                                Case No. 5:22-cv-03600-BLF
     84334789.1
         Case 5:22-cv-03600-BLF Document 17 Filed 07/18/22 Page 5 of 7




 1                                             ATTESTATION

 2            Pursuant to Civil Local Rule 5-1(h)(3), the filer of this document attests that concurrence

 3 in the filing of this document has been obtained from the other signatories above.

 4

 5                                                                  /s/ Colby B. Springer
                                                                    Colby B. Springer
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                                                              JOINT STIPULATION AND [PROPOSED] ORDER REGARDING
                                                              TIME TO RESPOND TO INITIAL COMPLAINT
                                                       -5-                                 Case No. 5:22-cv-03600-BLF
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         Case 5:22-cv-03600-BLF Document 17 Filed 07/18/22 Page 6 of 7




 1                                      [PROPOSED] ORDER

 2            Pursuant to the Stipulation, IT IS SO ORDERED.

 3 Dated: July 18, 2022
                                               HON. BETH LABSON FREEMAN
 4                                             UNITED STATES DISTRICT JUDGE

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                                                        JOINT STIPULATION AND [PROPOSED] ORDER REGARDING
                                                        TIME TO RESPOND TO INITIAL COMPLAINT
                                                  -1-                                Case No. 5:22-cv-03600-BLF
     84334789.1
        Case 5:22-cv-03600-BLF Document 17 Filed 07/18/22 Page 7 of 7



 1
                                      CERTIFICATE OF SERVICE
 2
              I am employed in the County of San Francisco, State of California, in the office of a
 3
     member of the bar of this Court, at whose direction the service was made. I am over the age of
 4
     eighteen years, and not a party to the within action. My business address is Three Embarcadero
 5
     Center, Suite 2400, San Francisco, California 94111.
 6
              On July 14, 2022 I caused to be served the foregoing document(s) in the manner
 7
     described below:
 8
      JOINT STIPULATION AND [PROPOSED] ORDER REGARDING TIME TO
 9    RESPOND TO INITIAL COMPLAINT

10   to be served on the following parties as indicated below:

11
      John T. Jasnoch                                     ☐      By United States Mail
12    Scott+Scott Attorneys at Law LLP                    ☒      By Electronic Mail
      600 West Broadway, Suite 3300                       ☐      By Facsimile
13    San Diego, CA 92101
      Tel.: (619) 233-4565
14    Fax: (619) 233-0508
      Email: jjasnoch@scott-scott.com
15    Attorneys for Plaintiff Nick Patterson

16    Sean T. Masson                                      ☐      By United States Mail
      Scott+Scott Attorneys at Law LLP                    ☒      By Electronic Mail
17    The Helmsley Building                               ☐      By Facsimile
      230 Park Avenue, 17th Floor
18    New York, NY 10169
      Tel.: 212-223-6444
19    Email: smasson@scott-scott.com
      Attorneys for Plaintiff Nick Patterson
20
      Daniel Amon Zaheer                                  ☐      By United States Mail
21    Kobre & Kim LLP                                     ☒      By Electronic Mail
      150 California Street, 19th Floor                   ☐      By Facsimile
22    San Francisco, CA 94111
      Tel.: 415-582-4800
23    Fax: 415-582-4811
      Email: daniel.zaheer@kobrekim.com
24    Attorneys for Defendant Jump Trading LLC

25            I declare under penalty of perjury under the laws of the United States of America that the
26   foregoing is true and correct. Executed July 14, 2022, at San Francisco, California.


                                                    By: /s/ Catherine Schmitz
                                                        Catherine Schmitz



     84334789.1
